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IN THE UNITED STATES DISTRICT cOURT

 

     

FOR THE wEerRN DISTRICT OF TENNESSEE 05 SEP - l AH lO: 145
WESTERN DIvIsION
HIOW»S M. GOULD
.. '»“‘:»W€T CO!M
W-‘D 1113 7 §-_ri,;pH;S
UNITED sTATEs 0F AMERICA, )
)
Plaimiff, )
)
vs. ) No. 04-20246 -D
)
102er MEADOWS, )
)
Defendant. )

 

ORDER DIRECTING MARSHAL 'I`O RETURN DEFENDANT TO STATE
CUSTODY PURSUANT TO HIS WAIVER UNDER THE INTERSTATE
AGREEMENT ON DETAINERS ACT

 

The defendant, Kevin Meadows, has filed a written waiver of his rights under the
Interstate Agreement on Detainers Act. A copy of that waiver is attached to this order. Based on
that Waiver, the United States Marshal is DIRECTED to return Mr. Meadows to state custody for

the service of his state sentence /,¢ kw

lt is so ORDERED this _ day of 2005.

 

' nited States District Judge

Thls document entered on the docket sh
w|th Ftule 55 and/or 32(b) FHCrP on

 
 

DISTIC COURT - WE"RNT DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
case 2:04-CR-20246 Was distributed by faX, mail, or direct printing on
September 8, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

